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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT and
 DAR’SHA L. HARDY,

                Plaintiffs,                           Case No. 5:16-cv-12140-JCO-MKM

 v.                                                   Honorable John Corbett O'Meara
                                                      United States District Judge

                                                      Magistrate Judge Mona K. Majzoub

 IRON STREET PROPERTIES, LLC, et al.

                Defendants,


  STIPULATION TO ENTRY OF ORDER GRANTING DEFENDANTS’ MOTION FOR
                        PARTIAL SUMMARY JUDGMENT
 ______________________________________________________________________________

        The Plaintiffs, Fair Housing Center of Metropolitan Detroit and Dar’sha Hardy, through

 their attorney Stephen A. Thomas, and the Defendants, Iron Street Properties, L.L.C, d/b/a River

 Park Lofts, Boydell Development, Inc, and Dennis Kefallinos, through their attorney Joseph A.

 Ahern, hereby stipulate to entry of an Order Granting Defendants’ Motion for Partial Summary

 Judgment, the Defendants’ having previously filed a Motion for Partial Summary Judgment

 (Docket #32) requesting the dismissal of the Plaintiffs’ claims based in racial discrimination, and

 the Plaintiffs having agreed to the dismissal of the racial discrimination claims only, the parties

 request entry of the Order submitted concurrently herewith.
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 STIPULATED AND AGREED TO:


 /s/ Stephen A. Thomas                         _/s/ Joseph A. Ahern___________
 Stephen A. Thomas (P43260)                    Joseph A. Ahern (P38710)
 Attorney for Plaintiffs                       Daniel C. DiCicco (P71299)
 645 Griswold St., Ste. 1360                   Co-Counsel for Defendants
 Detroit, MI 48226                             430 N. Old Woodward,Second Floor
 (313) 965-2265                                (248) 723-6101
 sthomas@313965Bank.com                        jahern@ahernkill.com


 Dated: August 10, 2017
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT and
 DAR’SHA L. HARDY,

             Plaintiffs,                    Case No. 5:16-cv-12140-JCO-MKM

 v.                                         Honorable John Corbett O'Meara
                                            United States District Judge

                                            Magistrate Judge Mona K. Majzoub

 IRON STREET PROPERTIES, LLC, et al.

             Defendants,


                ORDER GRANTING DEFENDANTS’ MOTION FOR
                        PARTIAL SUMMARY JUDGMENT
 ______________________________________________________________________________

       The Plaintiffs, Fair Housing Center of Metropolitan Detroit and Dar’sha

 Hardy, through their attorney Stephen A. Thomas, and the Defendants, Iron Street

 Properties, L.L.C, d/b/a River Park Lofts, Boydell Development, Inc., and Dennis

 Kefallinos, through their attorney Joseph A. Ahern, having filed their Stipulated

 Order Granting Defendants’ Motion for Partial Summary Judgment, and the Court

 being duly advised in this premises;

       IT IS HEREBY ORDERED that Count II of Plaintiff Fair Housing Center

 of Metropolitan Detroit (“FHCMD”) Complaint alleging violations of 42 U.S.C. §

 1982 is DISMISSED with prejudice.
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       IT IS FURTHER ORDERED that Count I of Plaintiff FHCMD’s

 Complaint, and Count I of Plaintiff Dar’sha Hardy’s Complaint, both alleging

 violations of the Fair Housing Amendments Act of 1988, with respect to Plaintiffs’

 claims of racial discrimination only, are DISMISSED with prejudice.




                                      __________________________________
                                      UNITED STATES DISTRICT JUDGE
